                       Case 4:21-mj-01052-DF Document 1 Filed 10/15/21 Page 1 of 3
AO 91 (Rev. 08/09) Criminal Complaint                                                                                  FILED
                                                                                                                October 15, 2021
                                    UNITED STATES DISTRICT COURT                                              CLERK, U.S. DISTRICT COURT
                                                               for the                                        WESTERN DISTRICT OF TEXAS

                                                     WesternDistrict
                                                    Western
                                                 __________  DistrictofofTexas
                                                            District      Texas
                                                                     of __________                                     Joseph Hinojos
                                                                                                          BY: ________________________________
                                                           Pecos Division                                                         DEPUTY

                  United States of America                         )
                              v.                                   )
                                                                   )      Case No. 4:21-MJ-1052
                         Eddie Encinia                             )
                                                                   )
                                                                   )
                           Defendant(s)


                                                    CRIMINAL COMPLAINT

         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of October 13, 2021                              in the county of     Reeves                          in the
     WESTERN DISTRICT
             District of OF TEXAS                             , the defendant(s) violated:
                                                                                 Offense Description
            Code Section

   Defendant,                                      Defendant(s) did knowingly and in reckless disregard of the fact that certain aliens
   8 USC 1324(a)(1)(A)(ii)&(B)(i)                  had come to, entered, and/or remained in the United States in violation of law, did
                                                   guide, transport, move, and attempt to guide and move said aliens within the United
                                                   States in furtherance of said violation of law for the purpose of commercial advantage
                                                   or private financial gain



   Defendant,                                      Conspiracy to commit Alien Smuggling
   8 USC 1324(a)(1)(A)(v)(I)




         This criminal complaint is based on these facts:

         ✔
         ’ Continued on the attached sheet.


                                                                                /s/ Ryan Drake
                                                                                             Complainant’s signature

                                                                          Special Agent Ryan Drake
                                                                                              Printed name and title
   OATH TELEPHONICALLY SWORN
               09:00 A.M.
         AT _________
      FED.R.CRIM.P. 4.1(b)(2)(A)

Date:              10/15/2021
                                                                                                Judge’s signature

City and state:      Alpine, Texas                                                 Honorable Judge David B. Fannin
                                                                                          United  States Magistrate Judge
                                                                                             Printed name and title




        Print                       Save As...                 Attach                                                     Reset
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                                            AFFIDAVIT
On October 13, 2021, Reeves County Deputy Sheriff Garcia was working routine patrol on Texas
State Highway 17 (HWY 17) in Reeves County near Balmorhea, TX. Reeves County lies within the
Western District of Texas.
At approximately 10:30 a.m., Deputy Garcia observed a tan Nissan Pathfinder traveling northbound
on HWY 17. Deputy Garcia observed the Pathfinder was bearing an expired vehicle registration tag
as well as failing to signal when necessary. Deputy Garcia performed a vehicle stop on the
Pathfinder on HWY 17, near county road 316.
Upon approaching the vehicle, Deputy Garcia observed the front seat passenger had a camouflage
backpack between his feet as well as three additional passengers attempting to conceal themselves in
the back seat. Deputy Garcia contacted the driver, identified as Eddie ENCINIA, and directed him to
step out of the vehicle, at which point Deputy Garcia also observed an additional subject attempting
to conceal themselves under a sweater in the rear cargo area of the sport utility vehicle. Suspecting
the vehicle contained undocumented noncitizens (UNCs), Deputy Garcia asked ENCINIA where he
had picked up the individuals in the vehicle, to which ENCINIA replied “the side of the road”.
Deputy Garcia advised his agency dispatch of the suspected situation, who in turn requested the
assistance of the U.S. Border Patrol. Border Patrol Agents (BPAs) assigned to the Fort Stockton
Border Patrol Station responded.
Once on scene, a BPA identified himself and conducted an immigration inspection on all the
occupants, six in total. ENCINIA was determined to be a United States Citizen. The five passengers
were determined to being citizens of countries other than that of the United States, to being in the
country illegally and to not being in possession of immigration documents that would allow them to
be in or remain in the United States legally.
ENCINIA and the five UNCs were taken into custody and transported to the Fort Stockton Border
Patrol Station for further processing. During standard intake processing, BPAs determined one of the
five UNCs was an unaccompanied minor.
Homeland Security Investigations (HSI) was advised and responded to investigate.
On October 13, 2021, Special Agent (SA) Ryan Drake interviewed ENCINIA. BPA Eugino Vega
assisted with the interview. The interview was audio/video recorded.
ENCINIA was provided his Miranda Warnings via ICE Form 73-025, Declaration of Rights.
ENCINIA read his rights and advised he understood his Miranda Warnings and was willing to
answer questions at that time.
Post-Miranda, ENCINIA admitted to having been hired to transport UNCs for which he was
expected to be financially compensated.
ENCINIA stated he contacted a third party through the Snapchat and WhatsApp applications who
offered the job of picking up UNCs in the Presidio, TX area and transporting them to Odessa, TX.
ENCINIA admitted to having picked up the five UNCs in the Presidio, TX area and transporting
them north on U.S. Highway 67 until dropping them off south of the Border Patrol Checkpoint for
purposes of circumventing the immigration inspection. ENCINA then picked up the group of five
and proceeded to transport them north in route to Odessa, TX until being encountered by the Reeves
County Sheriff Office.
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  ENCINIA admitted to picking up the UNCs knowing of their illegal status within the U.S. and was
  expecting to be paid $10,000 United States Dollars (USD) for successfully transporting them to
  Odessa, TX.



Complaint sworn to telephonically on                         /S/ Ryan Drake
                                                       _____________________________
_______________
October 15, 2021  and signed electronically.           Ryan Drake, Special Agent
FED.R.CRIM.P. 4.1(b)(2)(A)                             Homeland Security Investigations




  ______________________________________
  David B. Fannin
  United States Magistrate Judge
